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 as the Chapter 11 Trustee

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 KIM MORTIMER,
                                                    NOTICE OF REMOVAL
               Plaintiff,

         v.                                         Civil Action No. 21-cv-01074

 WHITE AND WILLIAMS LLP,
 HEIDI SORVINO, ESQ., and                           Removed from NY Civil Court,
 JAMES VANDERMARK, ESQ.,                            Index No. 50/21 and
                                                    Index No. 21N010021
               Defendants.


TO THE CLERK OF THE COURT:

        PLEASE TAKE NOTICE that Heidi J. Sorvino, as the Chapter 11 Trustee for the

bankruptcy estate of 60 91st Street Corp. (the “Chapter 11 Trustee”) by and through her

attorneys, White and Williams LLP, hereby removes cases identified with index numbers 50/21

and 21N010021, both entitled Kim Mortimer against White and Williams LLP, Heidi Sorvino, Esq.

and James Vandermark, Esq., which are currently pending in the Civil Court of the City of New

York, County of New York, Housing Part and are related to the Chapter 11 bankruptcy of 60 91st

Street Corp. (the “Debtor”) pending in the Bankruptcy Court for the Southern District of New

York (In re 60 91st Street Corp., 20-10338-SCC) (the “Bankruptcy Action”), in accordance with




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28 U.S.C. §§ 1441, 1446, 1452 and Federal Rule of Bankruptcy Procedure 9027(a). In support of

this Notice of Removal, the Chapter 11 Trustee states the following:

        1.     On February 4, 2020, while under Kim Mortimer’s management, the Debtor filed

a voluntary petition for relief under Chapter 11 of the Bankruptcy Code in the Bankruptcy Court.

        2.     Ms. Mortimer purported to be the sole shareholder of the Debtor, which owns an

apartment building consisting of nine (9) units located at 60 West 91st Street, New York, NY

10024 (the “Property”).

        3.     On April 30, 2020, the Bankruptcy Court entered an Order Approving the

Appointment of the Chapter 11 Trustee [ECF No. 28], which approved the selection of Ms. Sorvino

as Chapter 11 Trustee in the Debtor’s bankruptcy case. Upon request of the Chapter 11 Trustee,

the Bankruptcy Court approved the retention of White and Williams, LLP and James Vandermark

(collectively, “Bankruptcy Counsel”) as bankruptcy counsel in the Bankruptcy Action. Until the

appointment of the Chapter 11 Trustee, the Debtor operated its business and managed its affairs as

a debtor in possession under Sections 1107 and 1108 of the Bankruptcy Code.

        4.     On November 19, 2020, the Court entered the Order Granting, in Part, Additional

Relief Sought by the Motion of Heidi J. Sorvino, as the Chapter 11 Trustee, for an Order (I)

Finding Kim Mortimer in Contempt of the Prior Court Orders, (II) Granting Appropriate

Monetary and Non-Monetary Sanctions, (III) Enjoining Kim Mortimer from Contacting Tenants,

and (IV) Directing and Enforcing the Turnover of Books, Records, and Other Property of the

Debtor’s Estate Pursuant to 11 U.S.C. § 542 [ECF No. 205] (“Turnover Order”) directing Kim

Mortimer to turn over and vacate the Property.

        5.     On January 27, 2021, the Court entered the Order Granting the Chapter 11

Trustee’s Request for Emergency Relief to Change Locks [ECF No. 265] (the “Emergency Order”



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and together with the Turnover Order, collectively, the “Orders”), which, amongst other things,

authorized and directed the Chapter 11 Trustee to change certain locks at the Property to address

heat and hot water issues at the Property.

        6.     On February 5, 2021, the Chapter 11 Trustee enforced the Turnover Order by

proceeding with the removal of Ms. Mortimer from the Property.

        7.     In a blatant attempt to thwart the Orders and to harass and impede the Chapter 11

Trustee from performing her fiduciary obligations, Kim Mortimer filed several misleading and

baseless documents with the Civil Court of the City of New York, Housing Part (the “NYC

Housing Court”) to initiate the following actions:

               a. Kim Mortimer against White and Williams LLP, Heidi Sorvino, Esq. and James

                   Vandermark, Esq., Index No. 50/21 (the “First Action”); and

               b. Kim Mortimer against Heidi Sorvino, Esq. and James Vandermark, Esq., Index

                   No. 21N010021 (the “Second Action” and together with the First Action,

                   collectively, the “State Court Actions”).

A true and correct copy of all process and pleadings in the First Action and the Second Action are

attached hereto as Exhibits A and B, respectively.

        8.     On January 15, 2021, the First Action was initiated by an Order to Show Cause for

a Finding of Harassment and for a Restraining Order (the “First OSC”). Similarly, on February

3, 2021, the Second Action was initiated by an Order to Show Cause in Lieu of a Notice of Petition

to Restore to Possession (the “Second OSC”).

        9.     The State Court Actions are directly related to the Orders, the Property, and to the

Bankruptcy Action because Ms. Mortimer: (a) through the First OSC seeks damages against the

Chapter 11 Trustee and her Bankruptcy Counsel for carrying out the directives provided for in the



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Orders, and (b) through the Second OSC seeks to regain possession of the Property in direct

contravention of the Turnover Order.

                                       The Basis for Removal

        10.     Defendants seek removal of the State Court Actions pursuant to 28 U.S.C. §§ 1441

and 1452 on the grounds that the State Court Actions are related to and arising out of the

Bankruptcy Action. The State Court Actions are actions in which this Court has original

jurisdiction pursuant to 28 U.S.C. §§ 1334(b) and 1452(a).

        11.     Pursuant to 28 U.S.C. § 1452, "[a] party may remove any claim or causes of

action...to the district court where such civil action is pending, if such district court has jurisdiction

of such claim or cause of action under section 1334 of this title." 28 U.S.C. § 1452(a); see also

Fed. R. Bankr. Proc. 9027. Section 1334 provides that “the district courts shall have original but

not exclusive jurisdiction of all civil proceedings arising under title 11, or arising in or related to

cases under title 11.” 28 U.S.C. § 1334(b). The District Court – and the Bankruptcy Court – have

original jurisdiction over the State Court Actions because the actions are “related to” and arising

from the Bankruptcy Action.

        12.     “Litigation is related to a bankruptcy proceeding if the action's outcome might have

any conceivable effect on the bankruptcy estate.” Post Investors LLC v. Gribble, 2012 WL

4466619 (S.D.N.Y. Sept. 27, 2012) (quoting Parmalat Capital Fin. ltd. v. Bank of Am. Corp., 639

F.3d 572, 579 (2d Cir. 2011)).

        13.     The State Court Actions are related to the Bankruptcy Action because both the First

OSC and Second OSC involve a dispute regarding the Property and the removal of Ms. Mortimer

from the Property.




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        14.    This Notice of Removal is timely pursuant to Rule 9027(a)(3) of the Federal Rules

of Bankruptcy as it is filed within thirty (30) days after the Chapter 11 Trustee was served by

Plaintiff with the First OSC and Second OSC. Fed. R. Bankr. Proc. 9027(a)(3).

        15.    In accordance with the requirements of Federal Rule of Bankruptcy Procedure

9027(a)(1), the Chapter 11 Trustee asserts that, upon removal, the causes of action asserted in the

State Court Actions are core proceedings pursuant to 28 U.S.C. §§ 157 and 1334.

        16.    Concurrently with the filing of this notice of removal and pursuant to 28 U.S.C. §

1446(d), the Chapter 11 Trustee will promptly give written notice of this Notice of Removal to

Ms. Mortimer via Email and by filing a copy of this Notice of Removal with the clerk of the state

court in which the State Court Actions are pending.

        17.    The Chapter 11 Trustee has complied with all conditions precedent to removal, and

this removal has been filed in a timely manner.




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        WHEREFORE, the Chapter 11 Trustee hereby removes the State Court Actions currently

pending in the NYC Housing Court as a removed claim or cause of action under 28 U.S.C. §§

1441, 1446 and 1452 and Federal Rule of Bankruptcy Procedure 9027(a).




 Dated:       New York, New York                   WHITE AND WILLIAMS LLP
              February 6, 2021
                                                  /s/ James C. Vandermark
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                                                  Chapter 11 Trustee




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EXHIBIT A
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